USDC IN/ND case 2:10-cr-00123-PPS-APR               document 339        filed 04/18/13       page 1 of 17


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION


  UNITED STATES OF AMERICA                              )
                                                        )
  VS.                                                   )
                                                        )      Case No. 2:10-cr-123-PPS
  WILLIE HARRIS,                                        )
                                                        )
                 Defendant.                             )


                                      OPINION AND ORDER

         There are four motions presently before me brought by the defendant Willie Harris: 1) a

  Motion to Suppress Evidence (DE 306); 2) a Motion to Dismiss Due to the Government

  Allowing the Destruction or Disappearance of Exculpatory Evidence (DE 307); 3) a Motion to

  Dismiss Due to Improper Venue (DE 308); and 4) a Motion to Dismiss Due to Selective

  Prosecution (DE 309.) The Motion to Dismiss Due to the Destruction or Disappearance of

  Exculpatory Evidence (DE 307) will remain under advisement, and I’ll take up each of the other

  three motions in turn. Because each motion will hinge on different facts, I’ll include a

  discussion of the relevant background for each one.

                                     MOTION TO SUPPRESS

         I’ll start with the motion to suppress and spend most of my time on it. The motion asks

  me to suppress a notebook found in Harris’s vehicle when he was taken into custody by the

  Munster police. Harris says that he didn’t consent to the search of his truck and there were no

  exigent circumstances present to justify a warrantless search.

         The government essentially responds by making three arguments. First, it denies that

  there was a search – it says that the arresting officer merely retrieved items from Harris’s vehicle

                                                   1
USDC IN/ND case 2:10-cr-00123-PPS-APR                document 339       filed 04/18/13     page 2 of 17


  as requested by one of his passengers. Second, the government says that even if the officer did

  conduct a search, then it was constitutionally permissible because the passenger consented to the

  removal of items from Harris’s car. Finally, it says that even if the passenger didn’t (or couldn’t)

  consent to a search, the arresting officers had probable cause to search the vehicle.

         I disagree with the first two arguments, but the last one is enough for me to deny the

  motion to suppress.1 When the officer entered Harris’s vehicle he conducted a search of it for

  Fourth Amendment purposes – why he did so is irrelevant. And Harris’s passenger didn’t have

  apparent authority over the vehicle, so she couldn’t have consented to the search. However, the

  officer had probable cause to believe that contraband or evidence might be found in Harris’s

  vehicle. His passenger had just been caught with multiple fraudulent credit cards and personal

  information about the names on those cards. Harris apparently had driven her to the bank for the

  purpose of committing fraud. Given those circumstances, the officer would have been

  reasonable to think that more evidence of the arresting offense might be found in the truck that

  drove her there. The fact that he wasn’t actually looking for evidence doesn’t change that

  outcome – indeed, in some ways it reinforces it.

         Therefore, and for the reasons set forth below, the pending Motion to Suppress (DE 306)

  is DENIED.




         1
            At a status hearing on April 4, 2013, I indicated that I was leaning towards granting the
  suppression motion. My main concern at the time was that I didn’t think that the government
  had sufficiently raised the probable cause issue – their first brief simply stated that there was
  probable cause without citing any authority supporting that assertion. (DE 316 at 6.) However,
  after re-reviewing the briefing I have come to the view that the government properly preserved
  the issue although they certainly could have done a better job at fleshing the argument out.

                                                     2
USDC IN/ND case 2:10-cr-00123-PPS-APR               document 339        filed 04/18/13      page 3 of 17


                                        Relevant Background

         Here are the straight-forward facts relevant to the motion to suppress: Officers Michael

  Janiga and Kevin Cooley were dispatched to a Chase Bank branch on Ridge Road in Munster,

  Indiana. The bank had alerted the Munster Police Department that a woman, later identified as

  Darrielle Watkins,2 was attempting to use a Bank of America Visa card to fraudulently obtain a

  cash advance. Officers Janiga and Cooley arrived on the scene. They were not the first officers

  to arrive; others were already there when they got to the bank. These first-arriving officers

  apparently had taken Harris into custody because he was sitting in the back of a squad car. It’s a

  little unclear why he had been arrested, but presumably the officers suspected that he was

  involved in the fraud attempt that brought them to the bank. Harris’s vehicle, a black GMC

  truck, was parked in a handicapped parking spot nearby.

         Officers Janiga and Cooley went into the branch and took Watkins into custody. In

  addition to the fraudulent credit card, she had a second card with a different name on it, as well

  as a scrap of paper with a name and personal information (address, date of birth, social security

  number, etc.) corresponding to the name on that credit card. That individual – the owner of the

  card – later told police that it had been “compromised.”

         The officers took Watkins outside to put her in a squad car and have her transported to

  the police station. It’s a little ambiguous from the record, but it appears that Officers Janiga and

  Cooley weren’t the ones who drove her. Before she was taken, Watkins told them that her coat

  and backpack were in Harris’s truck, and she asked if someone could retrieve the items. I should



         2
           Watkins was a minor at the time, so she was not named in the indictment. However,
  both parties identify her by name in their suppression motion briefing, so I don’t need to worry
  about concealing her identity.

                                                   3
USDC IN/ND case 2:10-cr-00123-PPS-APR               document 339        filed 04/18/13     page 4 of 17


  note at this point that it seems clear that Officer Janiga knew that Harris had been driving the

  truck and Watkins was his passenger (although he says that he didn’t know if Harris actually

  owned the vehicle). So there’s no suggestion that anyone thought that it was Watkins’s truck.

         Officer Janiga agreed to get Watkins’s items. He went to the truck and gathered the

  contents from the passenger side. He couldn’t find the coat, but he did locate her backpack, a

  notebook that the officer thought was associated with the backpack and Harris’s wallet (which he

  took for safekeeping and later returned to Harris). As it turned out, the notebook was filled with

  incriminating information; it listed the personal information of at least a dozen people whose

  identities had apparently been stolen.

         Officer Janiga took the retrieved items back to the station, where he attempted to return

  the backpack and notebook to Watkins, who was waiting in a conference room for a parent to

  arrive.3 She told Officer Janiga that the backpack was hers but insisted that the notebook

  belonged to Harris. Officer Janiga then went to Harris, who was also at the station. Harris

  initially declined to give a statement, citing an ongoing criminal fraud case in county court. He

  then denied that the notebook was his and said that it belonged to Watkins. Officer Janiga

  continued to ask Harris about the notebook, at which point Harris refused to continue talking and

  asked for his lawyer. Ultimately, neither Harris nor Watkins claimed the notebook, and I assume

  that it was turned over by the Munster Police Department to federal investigators.

                                              Discussion

         The Fourth Amendment creates a general presumption against warrantless searches. See

  Katz v. United States, 389 U.S. 347, 357 (1967); United States v. Rivera, 825 F.2d 152, 156 (7th


         3
          Because Watkins was a minor, the police could not arraign her without a parent or
  guardian present.

                                                   4
USDC IN/ND case 2:10-cr-00123-PPS-APR                document 339         filed 04/18/13     page 5 of 17


  Cir. 1987). It’s well-settled, however, that a search conducted with the defendant’s consent falls

  outside this general rule.4 See United States v. Grap, 403 F.3d 439, 443 (7th Cir. 2005).

  Similarly, pursuant to the “automobile exception” to the Fourth Amendment warrant

  requirement, arresting officers are permitted to search a stopped car even without a warrant if

  “there is probable cause to believe that the search will uncover contraband or evidence of

  crime.” United States v. Pittman, 411 F.3d 813, 817 (7th Cir. 2005); accord United States v.

  Hines, 449 F.3d 808, 813 (7th Cir. 2006).

         So what happens if law enforcement officers search a car without consent or probable

  cause? Well, in that case, it will be inadmissible under the exclusionary rule. See United States

  v. Clinton, 591 F.3d 968, 971 (7th Cir. 2010). The rationale behind the exclusionary rule is

  essentially punitive. “The rule is calculated to prevent, not to repair. Its purpose is to deter – to

  compel respect for the constitutional guaranty in the only effectively available way – by

  removing the incentive to disregard it.” Brown v. Illinois, 422 U.S. 590, 600 (1975); accord

  United States v. Green, 111 F.3d 515, 523 (7th Cir. 1997). And while an officer’s good faith in

  undertaking a warrantless search is normally not a defense to application of the exclusionary

  rule, see United States v. Scales, 903 F.2d 765, 767-68 (10th Cir. 1990) (discussing general rule),

  the intended purpose of the rule is something that needs to be kept in mind.

         In any event, as I noted above, Harris argues that Officer Janiga impermissibly searched

  his truck when he removed the notebook in question. I must answer three questions to determine



         4
           It’s also well-recognized that police can conduct a warrantless search of an impounded
  vehicle to inventory and secure the contents of that vehicle. See United States v. Cartwright, 630
  F.3d 610, 613-14 (7th Cir. 2010). In this case, however, the government doesn’t claim that it
  conducted an “inventory search” of Harris’s car – which is understandable, because the car
  remained at the bank and wasn’t impounded.

                                                    5
USDC IN/ND case 2:10-cr-00123-PPS-APR                document 339         filed 04/18/13     page 6 of 17


  if he’s right and the notebook should be suppressed. First, was Officer Janiga’s removal of

  Watkins’s items even a “search” as envisioned by the Fourth Amendment? Second, if so, did

  Watkins’s request that he retrieve her coat and backpack constitute sufficient consent to that

  search? And third, if it was a search and Watkins didn’t or couldn’t consent, would Officer

  Janiga have had probable cause to search the truck anyway?

                         Was Janiga’s Removal of Watkins’s Items a Search?

         The government argues as a threshold matter that Officer Janiga didn’t engage in a

  search because he was retrieving Watkins’s items and not looking for evidence. I disagree with

  this theory.

         “While the interior of an automobile is not subject to the same expectations of privacy

  that exist with respect to one’s home, a car’s interior as a whole is nonetheless subject to Fourth

  Amendment protection from unreasonable intrusions by the police.” New York v. Class, 475

  U.S. 106, 114-15 (1986). In other words, if a police officer intrudes on the interior airspace of a

  vehicle, that generally will be a “search” for Fourth Amendment purposes. See, e.g., United

  States v. Jones, 132 S. Ct. 945, 952 (2012) (“In Class itself... we concluded that an officer’s

  momentary reaching into the interior of a car constituted a search.”); United States v. Ryles, 988

  F.2d 13, 15 (5th Cir. 1993) (noting that the intrusion of a the interior airspace of a vehicle is a

  search); United States v. Montes-Ramos, 347 Fed. App’x 383, 388-89 (10th Cir. 2009) (“We

  conclude a police officer's intentional act of intruding a vehicle’s air space, even if by only a few

  inches, constitutes a search within the meaning of the Fourth Amendment.”).

         The government counters by noting that Officer Janiga wasn’t looking for any evidence –

  he was retrieving Watkins’s personal items as she requested. Therefore, the reasoning goes, his

  intrusion of Harris’s car’s airspace wasn’t a search in this case. Notably, the government fails to

                                                    6
USDC IN/ND case 2:10-cr-00123-PPS-APR                  document 339         filed 04/18/13      page 7 of 17


  cite any authorities supporting its theory that it isn’t a search if an officer enters a stopped car for

  some purpose other than snooping around for evidence. That’s probably because there aren’t

  any (at least that I could find). It’s black letter law that an officer’s intent is irrelevant to the

  determination of whether a search has occurred. See United States v. Mann, 592 F.3d 779, 784

  (7th Cir. 2010); Platteville Area Apt. Ass'n v. City of Platteville, 179 F.3d 574, 580 (7th Cir.

  1999); see also Class, 475 U.S. at 114-15. Why an officer violates a reasonable expectation of

  privacy doesn’t matter. It’s still a search for Fourth Amendment purposes.

          Therefore, once Officer Janiga opened the door and reached into Harris’s vehicle, he was

  conducting a search under the Fourth Amendment. And similarly, by retrieving the notebook,

  this was a seizure under the Fourth Amendment.

                                            Watkins’s Consent

          The government’s next argument is that any search was permissible because Watkins

  effectively consented to it by asking Officer Janiga to get her items for her. The obvious hurdle

  with this assertion is that it wasn’t her truck to consent to be searched. The government tries to

  circumvent this objection by analogizing a passenger of a vehicle to a co-tenant or co-occupant

  of a residence. In that scenario, it correctly says, the consent of one tenant or occupant will be

  sufficient to authorize a search of the entire premises, even if the other tenants or occupants

  might object. See, e.g., Georgia v. Randolph, 547 U.S. 103, 113 (2006); United States v.

  Groves, 530 F.3d 506, 509 (7th Cir. 2008).

          The main problem with this line of reasoning is that there’s no need for an analogy.

  Courts commonly resolve cases involving the question of whether and when someone other than

  a vehicle’s owner can consent to a search. The general rule in that scenario is that the consenting

  person must have apparent authority over the vehicle. See United States v. Crowder, 588 F.3d

                                                      7
USDC IN/ND case 2:10-cr-00123-PPS-APR                document 339        filed 04/18/13     page 8 of 17


  929, 935-36 (7th Cir. 2009); United States v. Mosby, 541 F.3d 764, 767 (7th Cir. 2008); United

  States v. Powell, 929 F.2d 1190, 1196 (7th Cir. 1991). This inquiry, in turn, focuses on the issue

  of control – basically, whether the consenting non-owner is able to access and operate the

  vehicle. See Crowder, 588 F.3d at 935-36; Powell, 929 F.2d at 1196.

         There’s absolutely no suggestion here that Watkins had apparent authority over Harris’s

  truck. Officer Janiga testified that he was aware that Harris was the driver, and although he was

  never told who the owner was, Watkins certainly never claimed ownership. Moreover, it’s not

  entirely clear from his testimony, but it appears that Officer Janiga went to the passenger side of

  the truck to retrieve Watkins’s items, which at least suggests that he must have been aware that

  she was only a passenger in the vehicle.

         Based on all of this, I must conclude that Watkins never exhibited any apparent authority

  over Harris’s truck. Therefore, her consent is irrelevant. If Officer Janiga wanted to enter the

  vehicle and remove any items – whether to give them back to Watkins, or to use them for

  evidence, or to collect them for safekeeping – he needed to either get a warrant, obtain Harris’s

  consent as the apparent owner of the truck, or have probable cause to do it, which is the issue I

  take up next.

                           The Automobile Exception and Probable Cause

         Now for the last of those – the automobile exception and that probable cause. There is an

  initial question of whether the government has sufficiently raised this argument. The sole

  mention in its brief is a recitation of the facts surrounding Watkins’s and Harris’s arrest,

  followed by the conclusory statement, “Moreover, the officers had probable cause to search the

  defendant’s vehicle based upon this information.” (DE 316 at 6.) Counsel fleshed this argument

  out a little at oral argument, though even that consisted of only three sentences:

                                                    8
USDC IN/ND case 2:10-cr-00123-PPS-APR               document 339        filed 04/18/13     page 9 of 17


                 So, even if the Court were to assume this was a search, it was reasonable for the
                 officers to believe that if Willie Harris drove the – drove Darrielle Watkins there,
                 and it was for the express purpose of her to go into this bank to obtain that cash
                 advance fraudulently on Mr. Sulzman's bank credit card, that there might be some
                 other material inside that vehicle relating to it including in her backpack.

                 Since the notebook was under her backpack , and she requested that he retrieve it,
                 it was reasonable for them to believe there might be something in that car.

                 So, even if Detective Janiga didn't believe that, it was reasonable for him to go
                 into that vehicle and take anything that belonged to that Defendant who at that
                 time was under arrest which was Darrielle Watkins.

  (DE 325 at 32:3-16.) By raising the issue in its brief, and then by making the argument at the

  motions hearing, I think this is enough to have preserve the issue. So I’ll move on to the question

  of whether there was probable cause for Officer Janiga to search Harris’s car given the facts and

  circumstances surrounding Watkins’s and Harris’s arrest.

         “Under the ‘automobile exception’ to the warrant requirement, police officers may search

  a vehicle without a warrant if they have probable cause to believe that the vehicle contains

  contraband or evidence of criminality.” Valance v. Wisel, 110 F.3d 1269, 1279 (7th Cir. 1997);

  accord Ochana v. Flores, 347 F.3d 266, 270-71 (7th Cir. 2003). Probable cause to search will

  exist when there’s a fair probability that the searching officer will find contraband or evidence of

  illegal activity at a specified location based on the totality of the circumstances. See United

  States v. Washburn, 383 F.3d 638, 642 (7th Cir. 2004); United States v. McClinton, 135 F.3d

  1178, 1183 (7th Cir. 1998).

         I should address one thing from the outset. There’s absolutely no suggestion in this case

  that Officer Janiga entered Harris’s truck because he thought that it was reasonably likely that

  contraband might be in there. To the contrary, everyone seems to agree that he went into the

  truck to retrieve Watkins’s items per her request. But that is really neither here nor there because


                                                   9
USDC IN/ND case 2:10-cr-00123-PPS-APR               document 339        filed 04/18/13      page 10 of
                                                  17

 probable cause is an objective – not subjective – standard. See Carmichael v. Vill. of Palatine,

 Ill., 605 F.3d 451, 457 (7th Cir. 2010) (“The Supreme Court has made clear that the probable

 cause inquiry is an objective one; the subjective motivations of the officer do not invalidate a

 search otherwise supported by probable cause” (emphasis in original).). In other words, it

 doesn’t matter whether the officer in question actually believes that there might be evidence of a

 crime in the car. He or she just must be aware of facts sufficient for a reasonable person to think

 so. Id.; Williams v. Rodriguez, 509 F.3d 392, 398-99 (7th Cir. 2007).

        So were the facts known to Officer Janiga in this case sufficient for a reasonable person

 to believe that Harris’s truck probably contained evidence related to Watkins’s attempted credit

 card fraud? That’s a close question. On the one hand, almost all of the Seventh Circuit probable

 cause decisions that I have found involve situations in which the arresting officer had a concrete

 reason to believe that there was a specific and identifiable type of evidence in the car. An officer

 smelled marijuana from outside the car, see United States v. Franklin, 547 F.3d 726, 734-35 (7th

 Cir. 2008), or an informant told police in advance that the car would contain contraband, United

 States v. Alexander, 573 F.3d 465, 476 (7th Cir. 2009), or the police observed someone get in his

 car after leaving a suspected drug transaction. See United States v. Bullock, 632 F.3d 1004, 1013

 (7th Cir. 2011). And there’s nothing that specific in this case.

        But there is something unique about the crime of identity theft that makes this case a

 little bit different from run-of-the-mill cases. Watkins was arrested for stealing someone else’s

 identification and attempting to withdraw money from the bank using that ID. An important

 piece of evidence in any identity theft case is anything that might prove the true identity of the

 person who just got caught (allegedly) trying to use someone else’s ID. Officer Janiga knew that

 Watkins’ backpack was in the car; after all, that is what she asked him to retrieve. A reasonable

                                                  10
USDC IN/ND case 2:10-cr-00123-PPS-APR               document 339        filed 04/18/13      page 11 of
                                                  17

 officer would strongly suspect that the car in general, and the backpack and notebook in

 particular, could contain evidence indicating the real identity of the would-be identity thief – in

 this case Watkins. That would have given Officer Janiga probable cause to enter the truck and

 seize any items that could aid in identifying the person that he has in custody.

        That’s not all. Watkins was arrested with two fraudulent credit cards, but she only had

 personal information corresponding to one of them. It’s not unreasonable to think that a piece of

 paper with personal information for the other card might be in the truck. More broadly, Watkins

 was arrested at a bank with multiple fraudulent credit cards and related paraphernalia. I’m not

 convinced that this scenario wouldn’t be enough on its own for a reasonable police officer to

 believe that there might be additional evidence of her crime in the vehicle that drove her there.

        In sum, while it may be a close call, at a minimum, there certainly was probable cause to

 believe that the car contained evidence to identify Watkins, and that sort of proof that she wasn’t

 who she was purporting to be inside the bank obviously would be useful evidence in a

 prosecution for identity theft.

        In arriving at this conclusion, it’s important to return to the underlying purpose of the

 exclusionary rule, which is to deter police from undertaking impermissible warrantless searches.

 But that rationale is wholly inapplicable here. Officer Janiga didn’t enter Harris’s car to snoop

 around for evidence. He did it to retrieve an arrestee’s personal items pursuant to her request.

 That’s not exactly the type of police conduct that we are trying to deter. As the Seventh Circuit

 has observed:

                 We are well aware of the fact that there are competing interests at stake when
                 courts are called upon to decide whether or not to exclude evidence as a remedy
                 for a violation of the Fourth Amendment's reasonableness requirement.
                 Obviously, we are in full agreement with the underlying purpose of the


                                                  11
USDC IN/ND case 2:10-cr-00123-PPS-APR               document 339         filed 04/18/13     page 12 of
                                                  17

                 exclusionary rule: to deter illegal police conduct by punishing the behavior and
                 removing the incentive for its repetition.

                 On the other side of the ledger, it is beyond dispute that the exclusion of evidence
                 as a deterrent to police misconduct involves significant social costs. The
                 exclusionary rule by definition deprives courts and juries of probative evidence of
                 a crime, and thereby offends the important societal interest in prosecuting,
                 punishing, and deterring criminal conduct.

                 The appropriateness of applying the exclusionary rule to a particular case is in
                 large part the product of weighing and balancing these competing interests.

 United States v. Espinoza, 256 F.3d 718, 724-25 (7th Cir. 2001) (citations omitted). This

 captures my concern nicely. It just isn’t sensible to suppress evidence in a close case when the

 primary purpose of the exclusionary rule wouldn’t be served one iota.

                                Gant and Searches Incident to Arrest

         The second reason that I’m going to err on the side of not suppressing the incriminating

 notebook is that I’m not sure that probable cause is even the appropriate standard to apply to the

 warrantless search of an arrestee’s car that uncovers evidence of the arresting offense. Instead,

 it’s at least arguable that in that scenario, police have broader authority to conduct a search

 incident to arrest.

         In 2009, in Arizona v. Gant, 556 U.S. 332 (2009), the Supreme Court attempted to clarify

 what does – and doesn’t – constitute a permissible search incident to arrest. The Court first held

 that safety-related searches were limited to situations in which an unsecured passenger is within

 reaching distance of the passenger compartment. Id. at 343. But that’s not all. It went on to say

 that “circumstances unique to the vehicle context justify a search incident to a lawful arrest when

 it is ‘reasonable to believe evidence relevant to the crime of arrest might be found in the

 vehicle.’” Id. at 343-44 (2009) (quoting Thornton v. United States, 541 U.S. 615, 632 (2004))

 (emphasis added).

                                                  12
USDC IN/ND case 2:10-cr-00123-PPS-APR               document 339        filed 04/18/13     page 13 of
                                                  17

          What this language actually means turns out to be a very complicated – and unsettled –

 question. See, e.g., see Megginson v. United States, 129 S. Ct. 1982, 1982 (2009) (Alito, J.,

 dissenting from decision to grant, vacate, and remand) (“This case thus appears to present an

 important question regarding the meaning and specificity of the reasonable suspicion

 requirement in Gant. Because of the ambiguity of the new Gant test and the frequency of

 roadside arrests, I would grant certiorari in this case to provide much needed clarification.”).

 Some courts – including the Seventh Circuit on two occasions – essentially read that part of

 Gant to merely confirm the validity of the longstanding automobile exception to the search

 warrant requirement (which, as discussed above, requires probable cause). See United States v.

 Martin, 360 Fed. App’x 686, 689 (7th Cir. 2010); see also United States v. Stotler, 591 F.3d 935,

 939 (7th Cir. 2010). Other courts – also including multiple Seventh Circuit panels – construe the

 “reasonable to believe” language to imply a separate and distinct exception. See United States v.

 Smith, 697 F.3d 625, 630-31 (7th Cir. 2012); United States v. Slone, 636 F.3d 845, 852 (7th Cir.

 2011).

          The confusion doesn’t end there. Assuming the latter position is the better one (and it

 seems to be the majority view), courts are all over the map in determining what offenses and

 specific factual circumstances will make it reasonable to believe that evidence relevant to the

 offense of arrest might be found in an arrestee’s car. See, e.g., Thomas v. Plummer, 489 Fed.

 App’x 116, 120-22 (6th Cir. 2012) (cataloguing cases); Wayne R. LaFave, Gant and

 “offense-related evidence,” 3 SEARCH AND SEIZURE: A TREATISE ON THE FOURTH AMENDMENT,

 § 7.1(d) (5th ed.) (same). With respect to some offenses – like driving while under the influence

 of alcohol – courts generally view it as ipso facto reasonable to think that there might be offense-

 related evidence (e.g., an alcohol container, in that case) in the vehicle. See Thomas, 489 Fed

                                                  13
USDC IN/ND case 2:10-cr-00123-PPS-APR                document 339       filed 04/18/13     page 14 of
                                                   17

 App’x at 121-22. Other offenses – like a routine traffic violation – won’t support that

 presumption.

        I’m not going to get too immersed in this debate, because for the purposes of the

 suppression motion, I don’t have to. It’s enough to say that whatever the scope of the

 “reasonable suspicion” warrant exception is, it’s more lenient than the automobile exception’s

 probable cause requirement. “Presumably, the ‘reasonable to believe’ standard requires less than

 probable cause, because otherwise Gant’s evidentiary rationale would merely duplicate the

 ‘automobile exception,’ which the Court specifically identified as a distinct exception to the

 warrant requirement.” United States v. Vinton, 594 F.3d 14, 25 (D.C. Cir. 2010).

        And recall how I previously concluded that the question of whether or not Officer Janiga

 had probable cause to think that their might be evidence in Harris’s truck was a close one that

 perhaps could go either way. Well, if the likelihood that there would be contraband in the

 vehicle is right at the line of what will constitute probable cause, and the Gant reasonableness

 standard is a relaxed one compared to that test, then it seems pretty clear that Officer Janiga’s

 search necessarily must clear the lower hurdle.

        Therefore, I conclude that Officer Janiga was aware of facts and circumstances sufficient

 for a reasonable person to have probable cause to think that there was evidence in Harris’s truck.

 Even if not, it certainly was reasonable for him to believe that evidence related to Watkins’s

 attempted credit card fraud and identity theft might be in the vehicle pursuant to the relaxed

 Gant standard. For all of the foregoing reasons, then, the Motion to Suppress (DE 306) is

 DENIED.




                                                   14
USDC IN/ND case 2:10-cr-00123-PPS-APR               document 339        filed 04/18/13     page 15 of
                                                  17

                      MOTION TO DISMISS FOR IMPROPER VENUE

        Harris’s Motion to Dismiss for Improper Venue (DE 308) essentially argues that all acts

 involving Harris that are specified in the indictment that occurred in the Northern District of

 Indiana were preparatory acts, and therefore, they can’t provide a sufficient basis for venue. I

 disagree.

                                       Relevant Background

        The indictment in this case paints a picture of a massive conspiracy to commit credit card

 and bank fraud spanning multiple states. Many of the activities related to that fraud – including

 activities specifically involving Harris – allegedly occurred in Northern Indiana. For example,

 Paragraph 23 of the indictment alleges that Harris fraudulently obtained $3,800 from a bank in

 Munster, Indiana on or about November 9, 2007. Similarly, Paragraph 32 alleges that Harris and

 an unindicted co-conspirator attempted to fraudulently obtain a $5,000 cash advance from

 another Munster bank on or about April 7, 2008, which is apparently the Chase Bank incident

 involving Harris and Watkins described above. The indictment also includes numerous

 allegations of criminal activities committed by other members of the purported conspiracy that

 occurred in Gary, Merrillville and Schererville.

                                             Discussion

        Title 18, United States Code Section 3237(a) specifies what venue will be proper with

 respect to offenses spanning multiple states and/or districts:

                Except as otherwise expressly provided by enactment of Congress, any offense
                against the United States begun in one district and completed in another, or
                committed in more than one district, may be inquired of and prosecuted in any
                district in which such offense was begun, continued, or completed.




                                                    15
USDC IN/ND case 2:10-cr-00123-PPS-APR                document 339         filed 04/18/13      page 16 of
                                                   17

 18 U.S.C. § 3237(a). This generally means that “[f]or crimes that occur in more than one state

 or district, venue is constitutionally and statutorily proper in any district in which part of the

 crime was committed.” United States v. Ochoa, 229 F.3d 631, 636 (7th Cir. 2000); United States

 v. Tingle, 183 F.3d 719, 726 (7th Cir. 1999).

        Harris acknowledges this general rule, but he notes that merely preparatory acts

 occurring in a particular jurisdiction will not be sufficient to convey venue. See United States v.

 Muhammad, 502 F.3d 646, 653 (7th Cir.2007); Tingle, 183 F.3d at 726. Harris goes on to say

 that his alleged involvement in the conspiracy described in the indictment falls in this category.

        That doesn’t make sense. Let’s set aside the voluminous activities that involved Harris’s

 alleged co-conspirators occurring in Northern Indiana, which likely would be sufficient on their

 own to establish venue. As noted above, the indictment specifically alleges that Harris himself

 attempted to fraudulently obtain cash advances on two occasions (once successfully, and once

 not) in Munster, Indiana. That’s more than enough to conclude that venue is proper in this

 district; indeed, venue will be proper in any district in which an overt act in furtherance of a

 conspiracy occurs. See United States v. Pearson, 340 F.3d 459, 467 (2003), rev’d on other

 grounds, 543 U.S. 1097 (2005); United States v. Molt, 772 F.2d 366, 369 (7th Cir. 1985).

        Therefore, this Court is a constitutionally permissible and statutorily proper venue for the

 case before me. Harris’s Motion to Dismiss for Improper Venue (DE 308) is DENIED.

                 MOTION TO DISMISS FOR SELECTIVE PROSECUTION

        This takes me to the final motion that I’ll resolve in this opinion – Harris’s Motion to

 Dismiss Due to Selective Prosecution. (DE 309.) Harris basically argues that he is being treated

 unfairly because the government has decided to prosecute him and not a number of unindicted

 co-conspirators identified in the indictment. I won’t waste much time on this.

                                                   16
USDC IN/ND case 2:10-cr-00123-PPS-APR               document 339        filed 04/18/13      page 17 of
                                                  17

        “[S]elective prosecution requires a showing that the defendant ‘(1) ... [was] singled out

 for prosecution while other violators similarly situated were not prosecuted; and (2) the decision

 to prosecute was based on an arbitrary classification such as race, religion, or the exercise of

 constitutional rights.’” United States v. Monsoor, 77 F.3d 1031, 1034 (7th Cir. 1996) (quoting

 United States v. Cyprian, 23 F.3d 1189, 1195 (7th Cir. 1994)). The main problem that Harris

 faces here is that he fails to even suggest – much less show – that the government has decided to

 prosecute him based on his race or religion or the like.

        The reason for that, no doubt, is that there simply wasn’t intent to single out Harris based

 on an arbitrary classification. Indeed, there seems to be no intent to discriminate against Harris

 for any reason. The government indicted seven other defendants, so Harris is hardly alone. And

 while the indictment does mention a number of unnamed co-conspirators, the government has a

 pretty good explanation for that. With respect to some, it says, they are Harris’s unknown

 accomplices. With respect to others (like Watkins), they were minors who generally can’t be

 prosecuted in federal court.

        Perhaps Harris thinks that this story is a pretext, and the government really is going after

 him (and, presumably, his co-defendants) for some improper discriminatory reason. But he

 doesn’t say that, and he certainly hasn’t produced any evidence to support that sort of claim.

 Therefore, his Motion to Dismiss due to Selective Prosecution (DE 309) is DENIED.

        SO ORDERED.

        ENTERED:        April 18, 2013.

                                               s/ Philip P. Simon
                                               PHILIP P. SIMON, CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT



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